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UNITED STATES DISTRICT COURT                                 SOUTHERN DISTRICT OF TEXAS



Aetna Life Insurance Co.,                     §
                                              §
                Plaintiff,                    §
                                              §
versus                                        §                Civil Action 4:12-cv-01206
                                              §
Humble Surgical Hospital, LLC,                §
                                              §
                Defendant.                    §

                        NOTICE OF STATUS AND REQUEST FOR
                        ENTRY OF ORDER ON GARNISHMENT

         1.     On February 3, 2017, the Court entered Final Judgment in the above-

referenced matter authorizing Plaintiff Aetna Life Insurance Company (“Aetna”) to take

from Defendant Humble Surgical Hospital LLC (“Humble”) $41,411,650.98, plus

$9,938,796.24 in pre-judgment interest, plus post-judgment interest at the rate of 0.81%

per annum, and plus costs of court (Dkt#320).

         2.     The Final Judgment is valid and subsisting and remains unsatisfied.

         3.     Aetna intends to garnish funds from third-parties believed to be indebted

to Humble.

         4.     Attached hereto is an Application for Writs of Garnishment After

Judgment (“Application”) with supporting evidence.

         5.     Aetna requests the Court, upon consideration of the Application, enter an

Order for post-judgment writs of garnishment.




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                                        Respectfully submitted,

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                                Certificate Of Service
       I hereby certify that on February 22, 2017, I electronically filed the forgoing
document with the clerk of the court for the U.S. District Court, Southern District of
Texas, using the electronic case filing system of the Court. The electronic case filing
system sent a “Notice of Electronic Filing” to the attorneys of record who have
consented in writing to accept this Notice as service of this document by electronic
means.

                                           s/ John B. Shely
                                           John B. Shely




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